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                          UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA


   ASHLEY NICHOLE MAGALLAN,                                )
   individually, as surviving spouse and next              )
   friend of Jesus Magallan, Jr., deceased                 )
                                                           )
                          Plaintiff,                       )
                                                           )
   v.                                                      )     Case No. 16-CV-0668-CVE-FHM
                                                           )
   ZURICH AMERICAN INSURANCE                               )
   COMPANY, and JOHN CHRISTOPHER                           )
   CRELIA,                                                 )
                                                           )
                                                           )
                          Defendants.                      )


                                        OPINION AND ORDER

          Now before the Court is plaintiff’s Motion to Remand and Supporting Brief (Dkt. # 19).

   Plaintiff asserts that, under 28 U.S.C. § 1441(b), this case is not removable because defendant John

   Crelia is a citizen of Oklahoma, the state in which the suit was brought. Dkt. # 19, at 3. Defendant

   Zurich American Insurance Company (Zurich) responds that Crelia was a citizen of Arkansas at the

   time the suit was filed, and, alternatively, that removal was permitted because Zurich removed the

   case before plaintiff served Crelia. Dkt. # 28, at 3, 6.

                                                      I.

          This case arises from an automobile accident involving Crelia and Jesus Magallan, Jr. in

   Freedom, Oklahoma that resulted in the death of Magallan. Dkt. # 2-1, at 6. Plaintiff, Magallan’s

   surviving spouse, alleges that Crelia caused the accident by failing to yield the right-of-way. Id.

   Plaintiff asserts that at the time of the accident she and Magallan were insured by Zurich, which

   included uninsured/underinsured motorist coverage. Id. at 2. On October 3, 2016, plaintiff filed this
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   suit in the District Court of Delaware County, State of Oklahoma. Id. at 1. Plaintiff’s petition alleged

   causes of action for breach of contract, bad faith, and declaratory relief against Zurich, and

   negligence and wrongful death against Crelia. Id. The petition asserts that plaintiff is a citizen of

   Texas, that Zurich is an Illinois corporation with its principal place of business in Schaumburg,

   Illinois, and that Crelia is a resident of Colcord, Delaware County, Oklahoma. Id. at 1-2. On October

   5, 2016 Crelia filed a notice in his pending divorce case in Haskell County, Oklahoma that he moved

   to 17968 Mateer Road, Lincoln, Arkansas. Dkt. # 2, at 3.

           Plaintiff served Zurich on October 21, 2016. Dkt. # 2-2. On November 2, 2016, Zurich

   removed to this Court. Dkt. # 2. Zurich asserts in its notice of removal that the suit could be removed

   pursuant to 28 U.S.C. § 1441(a) because complete diversity exists among the parties and the amount

   in controversy exceeds $75,000. Dkt. # 2, at 1. With regard to diversity, Zurich asserts that plaintiff

   is a resident of Texas, Zurich is a New York corporation with its principal place of business in

   Illinois, and Crelia is a resident of Arkansas. Id. at 3.

           Plaintiff served Crelia on November 23, 2016. Dkt. ## 18, 19-1. In his answer to the petition,

   Crelia denied that he is a resident of Colcord, Delaware County, State of Oklahoma. Dkt. # 25, at

   1. In his answer to Zurich’s cross-claim, Crelia denied that he is a resident of Arkansas, Dkt. # 26,

   at 1. Crelia filed a reply to Zurich’s response to plaintiff’s motion to remand clarifying that he

   denied he is a resident of Colcord, Delaware County, State of Oklahoma because he was living in

   Freedom, Woods County, Oklahoma, not because he denies being a resident of Oklahoma. Dkt. #

   30, at 1. Moreover, regarding “his living situation around the time this lawsuit was filed,” Crelia

   asserts that:

           [Crelia] had a rent house in Oklahoma. For a period of a few weeks in the Fall of
           2016, Crelia and his wife stayed with his wife’s sister in Arkansas. Crelia did receive

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          some mail there, but also continued to receive mail at the rent house in Oklahoma.
          At the time the lawsuit was filed, October 3, 2016, Crelia and his wife were staying
          with the sister-in-law in Arkansas. In November, 2016, Crelia moved to Freedom,
          Woods County, OK. Crelia has always had an Oklahoma driver’s license.

   Id. at 2. Plaintiff now asks the Court to remand this action to the Delaware County District Court

   because this action is barred from removal by § 1441(b).

                                                     II.

          “Federal courts are courts of limited jurisdiction. They possess only that power authorized

   by Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).

   “If at any time before final judgment it appears that the district court lacks subject matter

   jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c). Section 1441(a) allows a defendant

   to remove most civil actions from state court to federal court over which the federal court would

   have original jurisdiction. However, “[b]ecause the jurisdiction of federal courts is limited, there is

   a presumption against our jurisdiction, and the party invoking federal jurisdiction bears the burden

   of proof.” Merida Delgado v. Gonzales, 428 F.3d 916, 919 (10th Cir. 2005). The removing party

   must prove jurisdictional facts by a preponderance of the evidence. See McPhail v. Deere & Co. 529

   F.3d 947, 953 (10th Cir. 2008).

                                                    III.

          Plaintiff argues that 28 U.S.C. § 1441(b)(2) bars removal in this case because Crelia is a

   resident of Oklahoma.1 Dkt. # 19, at 3. Zurich argues that the Court has jurisdiction under 28 U.S.C.

   §§ 1332(a) and 1441(a) because Crelia was a resident of Arkansas when the lawsuit was filed, and




   1
          Plaintiff does not dispute that the amount in controversy is more than $75,000 and complete
          diversity exists between the parties. See Dkt. ## 2-1, 19, 31.

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   when Zurich removed the case, Crelia had not been served. Dkt. # 28, at 3, 6. Section 1441(a)

   provides:

          Except as otherwise expressly provided by Act of Congress, any civil action brought
          in a State court of which the district courts of the United States have original
          jurisdiction, may be removed by the defendant or the defendants, to the district court
          of the United States for the district and division embracing the place where such
          action is pending.

   A federal court has original jurisdiction over a case on the basis of diversity if “the matter in

   controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between . . .

   citizens of different States.” 28 U.S.C. § 1332(a). However, under the forum defendant rule, “[a]

   civil action otherwise removable solely on the basis of the jurisdiction under section 1332(a) of this

   title may not be removed if any of the parties in interest properly joined and served as defendants

   is a citizen of the State in which such action is brought.” 28 U.S.C. § 1441(b)(2) (emphasis added).

                                                    A.

          Zurich argues that the forum defendant rule does not bar removal in this suit because, at the

   time Zurich removed the case, Crelia was not “properly joined and served.” Dkt. # 28, at 13-14.

   Federal courts are split as to the meaning of “joined and served.” Compare Breitweiser v.

   Chesapeake Energy Corp., No. 3:15-CV-2043-B, 2015 WL 6322625, at *6 (N.D. Tex. Oct. 20,

   2015) (“[C]ourts should apply the plain language of section 144(b)(2) and should not remand a

   nonforum defendant’s snap removal.”), and Watanabe v. Lankford, 684 F. Supp. 2d 1210, 1219 (D.

   Haw. 2010) (“[P]ursuant to the plain language of § 1441(b), the forum defendant rule does not

   require remand in the instant case because Lankford, a properly joined in-state defendant, had not

   been served at the time of removal.”), with Sullivan v. Novartis Pharmaceuticals Corp., 575 F. Supp.

   2d 640, 647 (D.N.J. 2008) (looking past the plain meaning of § 1441(b) and remanding a case in


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   which the defendant removed before service could be effected in order to avoid an “absurd and

   bizarre result” and “give effect to the purpose of the forum defendant rule”), and Vivas v. Boeing

   Co., 486 F. Supp. 2d 726, 735 (N.D. Ill. 2007) (holding that a non-forum defendant could not avoid

   remand by removing before a forum defendant was served).

          If possible, courts should give effect to every clause and word in a statute. Hain v. Mullin,

   436 F.3d 1168, 1171 (10th Cir. 2006) (quoting Duncan v. Walker, 533 U.S. 167, 174 (2001)). Thus,

   in interpreting § 1441(b), “served” should be given meaning, and the most natural reading of

   “properly joined and served” is that the forum defendant rule applies only to defendants who have

   been properly joined and properly served. However, some district courts have deviated from the

   plain language of § 1441(b) for two primary reasons: (1) allowing pre-service removal is antithetical

   to the purpose of the forum defendant rule, and (2) a strict reading of “joined and served” leads to

   absurd results.

                                                    B.

          The Court first considers the purpose of the forum defendant rule and the “joined and served”

   language. Although the removal doctrine has been a part of American jurisprudence since the

   Judiciary Act of 1789, the “properly joined and served” language was first included in 1948.

   Sullivan, 575 F. Supp. 2d at 644. No legislative history has been found which discusses the

   “properly joined and served” language in the 1948 revision. See, e.g., id.; Gentile v. Biogen Idec,

   Inc., 934 F. Supp. 2d 313, 319 (D. Mass. 2013). However, based on “the historical development of

   the policy of the remand provisions, the practical application of the ‘joined and served’ provision’

   . . . , and common sense,” some courts have determined that the purpose of the “joined and served”

   language is to prevent gamesmanship by plaintiffs who join forum defendants for the purpose of


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   preventing removal. Sullivan, 575 F. Supp. 2d at 644; see also Perez v. Forest Labs., Inc., 902 F.

   Supp. 2d 1238, 1243 (“[T]he purpose of the ‘joined and served’ requirement is to prevent a plaintiff

   from blocking removal by joining as a defendant a resident party against whom it does not intend

   to proceed, and whom it does not even serve.”) (alteration in original) (quoting Fields v. Organon

   USA Inc., No. 07-2922, 2007 WL 4365312, at *3 (D.N.J. Dec. 12, 2007)); Ethington v. Gen. Elec.

   Co., 575 F. Supp. 2d 855, 861 (N.D. Ohio 2008) (“Congress intended the ‘joined and served’ part

   of the forum defendant rule to prevent gamesmanship by plaintiffs, who might name an in-state

   defendant against whom he or she does not have a valid claim in a complaint filed in state court to

   defeat otherwise permissible removal by the non-forum defendant(s).”). Therefore, reading the

   forum defendant rule to allow a defendant to remove before a forum defendant has been served

   contradicts the purpose of the rule because it encourages defendants to engage in a different

   gamesmanship — racing to remove before service of process is effected on the forum defendant.

   Ethington, 575 F. Supp. 2d at 861-62.

          The argument that the plain language of § 1441(b) should be disregarded in favor of an

   interpretation that reduces gamesmanship is unconvincing. “The plain meaning of legislation should

   be conclusive, except in the ‘rare cases [in which] the literal application of a statute will produce a

   result demonstrably at odds with the intentions of its drafters.’” United States v. Ron Pair Enters.,

   Inc., 489 U.S. 235, 242 (1989) (quoting Griffin v. Oceanic Contractors, Inc., 458 U.S. 564, 571

   (1982)). Although the result of § 1441(b)’s plain language is at odds with one of Congress’s general

   policy concerns regarding removal, the legislative history of the “joined and served” language is

   silent. The Court cannot contradict the plain language § 1441(b) on the basis of congressional

   intentions that have been inferred by courts but never actually expressed by the law’s drafters.


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          Moreover, that the purpose of the “joined and served” language is solely to prevent

   gamesmanship is uncertain. First, the “joined and served” language was unnecessary to prevent

   plaintiffs from blocking removal through fraudulent joinder. Defendants could overcome remand

   based on the forum defendant rule by showing fraudulent joinder before the 1948 revision. See, e.g.,

   Wilson v. Republic Iron & Steel Co., 257 U.S. 92, 97 (1921) (“[The] right of removal cannot be

   defeated by a fraudulent joinder of a resident defendant having no real connection with the

   controversy.”). And second, “Congress thoroughly reviewed and revised the modern jurisprudence

   of removal” in the Federal Courts Jurisdiction and Venue Clarification Act of 2011, Pub. L. No.

   112-63, 125 Stat. 758 (codified in scattered sections of 28 U.S.C.), and, despite resolving several

   other long running disagreements among the federal courts regarding removal, retained the “joined

   and served” language of § 1441(b). Zach Hughes, A New Argument Supporting Removal of

   Diversity Cases Prior to Service, 79 Def. Couns. J. 205, 210-11 (2012). With silence in the

   legislative history and Congress’s seemingly intentional decision not to alter the language of §

   1441(b), the Court cannot find with any certainty that the “joined and served” language was added

   solely to prevent gamesmanship, let alone deviate from the plain language of § 1441(b) to carry out

   that purpose.

                                                    C.

          The Court next considers the absurdity doctrine as applied to this case. “The absurdity

   doctrine is an exception to the rule that the plain and ordinary meaning of a statute controls.” In re

   McGough, 737 F.3d 1268, 1276 (10th Cir. 2013) (citing Resolution Trust Corp. v. Westgate

   Partners, Ltd., 937 F.2d 526, 529 (10th Cir. 1991)). Under the doctrine, “interpretations of a statute

   which would produce absurd results are to be avoided if alternative interpretations consistent with


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   the legislative purpose are available.” Griffin v. Oceanic Contractors, Inc., 458 U.S. 564, 575 (1982).

   In Sullivan, the court found that the plain meaning of § 1441(b) led to “an absurd and bizarre result”

   because it “reward[s] defendants for conducting and winning a race, which serves no conceivable

   public policy goal, to file a notice of removal before the plaintiffs can serve process.” 575 F. Supp.

   2d at 646. Additionally, the Sullivan court reasoned that when the “joined and served” language was

   added in 1948, Congress “could not possibly have foreseen the development of electronic docket

   monitoring and the technologically-advanced facts of this opinion.” Id.

          While a strict reading of § 1441(b) may lead to absurd results in some cases, this case does

   not rise to the level of absurdity. Here, plaintiff filed her case on October 3, 2016 and served Zurich

   on October 21, 2016. Zurich removed the case on November 2, 2016. This is not a case of docket

   watching and unforseen, quick electronic filing, in which the plaintiff had no fair opportunity to

   serve the forum defendant before removal. Plaintiff had a month to serve Crelia after she filed this

   suit and before Zurich removed. Further, the majority of the courts that have found a strict

   construction of § 1441(b) leads to absurd results have done so in cases where no defendant has been

   served and/or the forum defendant removed the case. See, e.g., In re The Jean B. McGill Revocable

   Living Trust, No. 16-CV-707-GKF-TLW, 2017 WL 75762 (N.D. Okla. Jan. 6, 2017); Sullivan, 575

   F. Supp. 2d at 646. Neither situation is present here. Zurich, the removing defendant, is a non-forum

   defendant and was served nearly two weeks before it removed. Although allowing Zurich to take




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   advantage of plaintiff’s delayed service of process on Crelia may not be the best policy, it is what

   the plain language of the statute demands and is not absurd.2

          For the reasons stated above, the Court will not consider Crelia in applying 28 U.S.C.

   § 1441(b), the forum defendant rule, to this case. Moreover, the Court need not address the issue of

   Crelia’s residency at the time the lawsuit was filed because whether he was a resident of Oklahoma

   or Arkansas does not affect the Court’s jurisdiction over this matter. Because complete diversity

   exists among the parties, the amount in controversy exceeds $75,000, and no “properly joined and

   served” defendant was a resident of Oklahoma at the time of removal, Zurich’s removal was proper

   under 28 U.S.C. §§ 1332(a) and 1441.

          IT IS THEREFORE ORDERED that plaintiff’s Motion to Remand and Supporting Brief

   (Dkt. # 19) is denied.

          DATED this 11th day of January, 2017.




   2
          Plaintiff made a new argument in her reply brief that this matter must be remanded because
          Zurich failed to obtain the consent of Crelia before removing. The same “properly joined and
          served” language as in the forum defendant rule exists in the rule requiring all defendants
          to consent to a removal. See 28 U.S.C. § 1446(2)(A). Because Crelia was not served at the
          time Zurich removed, Zurich’s failure to obtain Crelia’s consent does not compel remand.
          See McDaniel v. Loya, 304 F.R.D. 617, 626 (D.N.M. 2015) (“Defendants who have not been
          served, however, need not join in removal.”).

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